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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                                                                   FILED
                                                                                    SEP 28 2020
                                                                              Clerk, U.S. District & Bankruptcy
                                                                              Court for the District of Columbia
LINDOKUHLE MNYANDU EL,          )
                                )
         Plaintiff,             )
                                )
    v.                          )                     Civil Action No. 20-2507 (UNA)
                                )
MARAMELA CYRIL RAMAPHOSA et al.,)
                                )
         Defendants.            )


                                  MEMORANDUM OPINION

       This matter is before the Court on its initial review of plaintiff’s pro se complaint, ECF

No. 1, and application for leave to proceed in forma pauperis, ECF No. 2. The Court will grant

the in forma pauperis application and dismiss the case because the complaint fails to meet the

minimal pleading requirements of Rule 8(a) of the Federal Rules of Civil Procedure.

       Complaints filed by pro se litigants are held to less stringent standards than those applied

to formal pleadings drafted by lawyers. See Haines v. Kerner, 404 U.S. 519, 520 (1972). Still,

pro se litigants must comply with the Federal Rules of Civil Procedure. Jarrell v. Tisch, 656 F.

Supp. 237,239 (D.D.C. 1987). Rule 8(a) of the Federal Rules of Civil Procedure requires that a

complaint contain a short and plain statement of the grounds upon which the Court's jurisdiction

depends, a short and plain statement of the claim showing that the pleader is entitled to relief,

and a demand for judgment for the relief the pleader seeks. Fed. R. Civ. P. 8(a). This standard

aims to give fair notice to each defendant of the claims being asserted sufficiently to prepare a

responsive answer, mount an adequate defense, and determine whether the doctrine of res

judicata applies. Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977). It also assists the court

in determining whether it has jurisdiction over the subject matter.


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       Plaintiff resides in Federal Way, Washington. He has sued by name and “doing business

as” the President of the Republic of South Africa, the Bishop of the Anglican Church of England,

the Chief Justice of the Constitutional Court of South Africa, the Mayor of Ethekwini

Municipality, and each defendant’s “heirs and assigns.” Compl. Caption. Plaintiff seeks

“$45,000,000,000 in lawful money (gold and silver).” Compl. at 4.

       The complaint and the exhibit purportedly setting forth the claims, ECF No. 1-2 (styled

“writ in the nature of genocide”) contain no coherent statement of facts. Nor is the basis of

federal court jurisdiction clear. See Compl. ¶ II (indicating both federal question and diversity

jurisdiction); cf. Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 117–18 (2013) (the Alien

Tort Statute, 28 U.S.C. § 1350, “provides jurisdiction over the offense of genocide ‘regardless of

where the offense is committed’ if the alleged offender is, among other things, ‘present in the

United States’”) (quoting 18 U.S.C. § 1091(e) (2006 ed., Supp. V) (emphasis added)); Flanagan

v. Islamic Republic of Iran, 190 F. Supp. 3d 138, 146 (D.D.C. 2016) (The Foreign Sovereign

Immunities Act “provides the sole basis for obtaining jurisdiction over a foreign state in the

courts of this country[,]” and it “starts with a general presumption of immunity for foreign

states.”) (surveying cases) (internal quotation marks omitted)). As for the federal criminal

statutes plaintiff mentions, see Compl. at 3, it is established that 18 U.S.C. § 241 and § 242

authorize “no private right of action,” Crosby v. Catret, 308 Fed. App’x 453 (D.C. Cir. 2009)

(per curiam). Moreover, “[t]he Supreme Court has ‘rarely implied a private right of action

under a [bare] criminal statute[.]’” Lee v. United States Agency for Int'l Dev., 859 F.3d 74, 77

(D.C. Cir. 2017) (quoting Chrysler Corp. v. Brown, 441 U.S. 281, 316 (1979); Cort v. Ash, 422




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U.S. 66, 79 (1975)). Therefore, this case will be dismissed. A separate order accompanies this

Memorandum Opinion.



                                                   ___________s/__________
                                                   RUDOLPH CONTRERAS
                                                   United States District Judge
Date: September 28, 2020




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